 

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Kansas

Sashada Makthepharak

 

Plaintiff(s)

V. Civil Action No. 2:23-cv-02121-DDC-RES
Laura Kelly, Jeff Zmuda, Jonathan Ogletree, Jeannie
Wark, & Mark Keating

- Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Jonathan Ogletree, Chair
Kansas Department of Corrections
ATTENTION: Prisoner Review Board
714 Southwest Jackson, Suite 300
Topeka, Kansas 66603

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Sashada Makthepharak, Plaintiff
Jonathan Sternberg, Attorney for Plaintiff

2323 Grand Boulevard #1100
Kansas City, Missouri 64108

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 03/24/2023 {sf J. Hokanson, Deputy Clerk
Signature of Clerk or Deputy Clerk
AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
District of Kansas

Case Number: 2:23-CV-02121-DDC-RES

Plaintiff:
Sashada Makthepharak
vs.
POW2023004017

Defendant:
Laura Kelly, Jeff Zmuda, Jonathan Ogletree, Jeannie Wark, & Mark Keating

For:

Johnathan Sterberg Attorney PC
2323 Grand Boulevard #1100
Kansas City, MO 64108

Received by D & B Legal Services, Inc. on the 28th day of March, 2023 at 12:37 pm to be served on JONATHAN OGLETREE,
CHAIR KANSAS DEPARTMENT OF CORRECTIONS, ATTN: PRISONER REVIEW BOARD, 714 SW JACKSON STE 300,
TOPEKA, KS 66603.

|, Greg Noll PPS23-0124, being duly sworn, depose and say that on the3rd day of April, 2023 at 11:05 am, I:

served an AUTHORIZED entity by delivering a true copy of the Summons in a Civil Action, Notice, Civil Complaint for
Declaratory and Injunctive Relief with the date and hour of service endorsed thereon by me, to: CHERIE DANIELS as
AUTHORIZED AGENT at the address of: 714 SW JACKSON STE 300, TOPEKA, KS 66603, who is authorized to accept service
for JONATHAN OGLETREE, CHAIR

| certify that | am over the age of 18 and have no interest in the above action and the foregoing statements made by me are true
and correct.

Greg Noll PB$23-0134
Process Server

D & B Legal Services, Inc.
P.O. Box 7471

Overland Park, KS 66207
(913) 362-8110

 

 

   
 

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